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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )      Case no.: 1:23-cr-00357-JMC
                                               )
RALLY RUNNER,                                  )
                                               )
       Defendant.                              )

                                   MOTION TO WITHDRAW

       COMES NOW, Will Saunders, Esq. (“Movant”) and hereby requests that this court grant

Movant leave to withdraw as counsel for defendant in the above-styled case on the basis that

Defendant Rally Runner will continue to be represented by Albert S. Watkins, Esq.

       WHEREFORE, for the foregoing reasons, defendant requests this court grant this Motion to

Withdraw.

                                               SO ORDERED:

                                               _____________________________


                                               KODNER WATKINS,

                                               By:___/s/ William S. Saunders____
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                                 CERTIFICATE OF SERVICE

        Signature above is also certification that on December 1, 2023, a true and correct copy of the
foregoing was electronically filed with the Clerk of the Court utilizing the CM/ECF system which
will send notification of such filing to all parties of record.
